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                                                     14                            UNITED STATES DISTRICT COURT
                     San Francisco, CA 94104
Locke Lord LLP




                                                     15                           CENTRAL DISTRICT OF CALIFORNIA
                                                     16

                                                     17   SANDRA E. LISH,                                  )   CASE NO.: 2:20-cv-07147-JFW-JPR
                                                     18                                                    )
                                                                                      Plaintiff,           )   AMERIHOME MORTGAGE
                                                     19                                                    )   COMPANY, LLC’S NOTICE OF
                                                     20           vs.                                      )   MOTION AND MOTION TO
                                                                                                           )   DISMISS PLAINTIFF’S
                                                     21   AMERIHOME MORTGAGE                               )   COMPLAINT; MEMORANDUM OF
                                                     22   COMPANY, LLC,                                    )   POINTS AND AUTHORITIES IN
                                                                                                           )   SUPPORT THEREOF
                                                     23                               Defendant.           )
                                                     24                                                    )   Date: October 19, 2020
                                                                                                           )   Time: 1:30 p.m.
                                                     25                                                    )   Place: Courtroom 7A
                                                     26                                                    )   Hon. John F. Walter
                                                                                                           )
                                                     27                                                    )   Complaint Filed: August 9, 2020
                                                     28


                                                                                                 MOTION TO DISMISS
                                                          83667969v.1
                                                                        Lish v. AmeriHome Mortgage Company, LLC, Case No. 2:20-cv-07147-JFW-JPR
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                                                      1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                      2           PLEASE TAKE NOTICE that on October 19, 2020, at 1:30 p.m., or as soon
                                                      3   thereafter as the matter may be heard in the above-entitled Court, defendant
                                                      4   AmeriHome Mortgage Company, LLC (hereinafter “AmeriHome”) will bring for
                                                      5   hearing, in the United States Courthouse, 350 W. 1st Street, Los Angeles, CA 90012,
                                                      6   Courtroom 7A, its motion to dismiss the Complaint filed by plaintiff Sandra E. Lish
                                                      7   (“Plaintiff”). AmeriHome seeks dismissal of the Complaint and each of its causes of
                                                      8   action pursuant to Federal Rule of Civil Procedure 12(b)(6) on the ground that each
                                                      9   cause of action fails to state a claim upon which relief can be granted.
                                                     10           This motion is made following the conference of counsel pursuant to L.R. 7-3
                                                     11   which took place on September 11, 2020.
                                                     12           This Motion is based on this Notice of Motion and Motion, the below
                                                     13   Memorandum of Points and Authorities, the pleadings, papers and records on file in
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                                                     14   this action, and such oral argument as may be presented at the time of the hearing.
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                                                     16   Dated: September 21, 2020                 Respectfully submitted,
                                                     17                                             LOCKE LORD LLP
                                                     18
                                                     19
                                                                                                    By: /s/ Regina J. McClendon
                                                     20                                                   Regina J. McClendon
                                                     21                                                   Thomas J. Cunningham
                                                                                                    Attorneys for Defendant AmeriHome Mortgage
                                                     22                                             Company, LLC
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                                                                                                 MOTION TO DISMISS
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                                                          Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §§ 1788, et
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                                                      2                     MEMORANDUM OF POINTS & AUTHORITIES
                                                      3   I.      INTRODUCTION
                                                      4           Plaintiff Sandra E. Lish (“Plaintiff”) alleges that AmeriHome Mortgage
                                                      5   Company, LLC (“AmeriHome”) improperly charged a convenience fee in connection
                                                      6   with a mortgage payment she made by telephone.
                                                      7           As discussed in further detail below, the Complaint fails to sufficiently state a
                                                      8   claim against AmeriHome. In short, the voluntary payment of a convenience fee by
                                                      9   Plaintiff to AmeriHome to utilize an optional service does not violate any federal or
                                                     10   state laws. Plaintiff was provided an optional service to make an immediate payment
                                                     11   by telephone in order to avoid incurring late fees well in excess of the $2.00 fee
                                                     12   requested by AmeriHome to utilize the service. AmeriHome was not obligated to offer
                                                     13   the convenience and Plaintiff was not obligated to use it. Accordingly, AmeriHome
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                                                     14
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                                                          respectfully requests that the Court grant its motion to dismiss the Complaint in its
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                                                     15   entirety.
                                                     16   II.     STATEMENT OF FACTS
                                                     17
                                                                  On a motion to dismiss, the Court accepts as true the facts properly pleaded in
                                                     18
                                                          the complaint, but not conclusions of law. Alperin v. Vatican Bank, 410 F.3d 532, 541
                                                     19
                                                          (9th Cir. 2005); In re Verifone Secs. Litig., 11 F.3d 865, 868 (9th Cir. 1993). In
                                                     20
                                                          resolving a motion to dismiss, the Court generally accepts as true all material
                                                     21
                                                          allegations in the complaint, as well as reasonable inferences to be drawn from them.
                                                     22
                                                          Pareto v. F.D.I.C., 139 F.3d 696, 699 (9th Cir. 1998). The Court, however, need not
                                                     23
                                                          accept as true any unreasonable inferences, unwarranted deductions of fact, or
                                                     24
                                                          conclusory legal allegations cast in the form of factual allegations. Western Mining
                                                     25
                                                          Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981).
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                                                                                                  MOTION TO DISMISS
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                                                      1           In keeping with these rules, and without conceding for any other purpose the
                                                      2   truth of Plaintiff’s allegations, AmeriHome sets forth the facts pertinent to this
                                                      3   motion.
                                                      4           Plaintiff claims that AmeriHome charged her a $2.00 convenience fee each time
                                                      5   she chose to make a mortgage payment by telephone. Dkt. 1 at ¶ 53. Plaintiff claims
                                                      6   AmeriHome knowingly and deliberately charges the convenience fee even though it is
                                                      7   aware that such a fee is not authorized under the subject Mortgage. Id. at ¶ 55.
                                                      8   III.    LEGAL ARGUMENT
                                                      9           To survive a motion to dismiss, a complaint must contain sufficient factual
                                                     10   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
                                                     11   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly,
                                                     12   550 U.S. 544, 570 (2007)). Thus, in resolving a Rule 12(b)(6) motion to dismiss, a
                                                     13   court engages in a two-prong inquiry.
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                                                                  First, a court accepts all well-pled allegations as true, but “[t]hreadbare recitals
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                                                     15   of the elements of a cause of action, supported by mere conclusory statements, do not
                                                     16   suffice.” Id. (citation omitted). A court is “not bound to accept as true a legal
                                                     17   conclusion couched as a factual allegation.” Id. (citation omitted). Nor need a court
                                                     18   “accept as true allegations that contradict matters properly subject to judicial notice or
                                                     19   by exhibit.” Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
                                                     20           Second, the court determines whether the well-pled factual allegations are
                                                     21   sufficient to “raise a right to relief above the speculative level.” Twombly, 550 U.S. at
                                                     22   555 (citation omitted). “[O]nly a complaint that states a plausible claim for relief
                                                     23   survives a motion to dismiss.” Iqbal, 556 U.S. at 679. “[W]here the well-pleaded
                                                     24   facts do not permit the court to infer more than the mere possibility of misconduct, the
                                                     25   complaint has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to
                                                     26   relief.’” Id. (citing Fed. R. Civ. P. 8(a)(2)).
                                                     27

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                                                                                                  MOTION TO DISMISS
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                                                      1           A.    Plaintiff’s claims for violation of California statutes must fail because
                                                      2
                                                                        she is not a resident of California.

                                                      3           Plaintiff’s first and second causes of action are brought under the California
                                                      4   Rosenthal Fair Debt Collection Practices Act (the “Rosenthal Act”) and California’s
                                                      5   Unfair Competition Law (the “UCL”). However, Plaintiff is not a resident of
                                                      6   California and the subject mortgage is for a property located in Miami, Florida.
                                                      7   Compl., ¶ 12.
                                                      8           The Rosenthal Act and the UCL are California statutes that regulate harm
                                                      9   suffered by California residents, or harm to non-residents that occurred in California.
                                                     10   They were neither designed nor intended to provide relief to non-California residents
                                                     11   allegedly harmed by conduct occurring entirely outside of California. Norwest
                                                     12   Mortg., Inc. v. Superior Court, 72 Cal. App. 4th 214, 222 (1999)(“We ordinarily
                                                     13   presume the Legislature did not intend the statutes of this state to have force or
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                                                     14   operation beyond the boundaries of the state”).
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                                                     15           In order for a non-resident to invoke a California statute, he or she must allege
                                                     16   that there is a “significant contact or significant aggregation of contacts” linking its
                                                     17   injuries or the defendant’s alleged misconduct to the State of California. Id. at 226.
                                                     18   Plaintiff’s only allegations in support of such a conclusion are that AmeriHome has its
                                                     19   principal place of business in California, that AmeriHome “does business in
                                                     20   California” and that AmeriHome “performed the wrongful acts giving rise to this
                                                     21   lawsuit in California.” Compl., ¶ 9. The Complaint, however, contains no facts
                                                     22   whatsoever to support any finding that a wrongful act with any relation to Plaintiff
                                                     23   occurred in California. Conclusory allegations such as these are completely
                                                     24   insufficient to state a cause of action. See, Iqbal, 556 U.S. at 678; Twombly, 550 U.S.
                                                     25   at 570.
                                                     26           And while having a principal place of business and doing business in California
                                                     27   may be sufficient for purposes of personal jurisdiction, it is not sufficient to permit
                                                     28   application of foreign law to the claims of non-resident plaintiffs. Norwest, 72
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                                                      1   Cal.App.4th at 226 (“The fact that Norwest Mortgage is incorporated and does
                                                      2   business in California gives California personal jurisdiction over Norwest Mortgage.
                                                      3   However, Shutts specifically admonished that the existence of personal jurisdiction
                                                      4   over the defendant does not alone permit application of the forum law to the claims of
                                                      5   nonresident plaintiffs.”)(citing Phillips Petroleum Co. v. Shutts, 472 U.S. 797 (1985)).
                                                      6           Because the Rosenthal Act and the UCL do not apply to non-residents,
                                                      7   Plaintiff’s first and second causes of action must fail against AmeriHome.
                                                      8           B.    Plaintiff has not stated a claim under the Rosenthal Act.
                                                      9           Plaintiff’s first cause of action claims that the convenience fees she chose to pay
                                                     10   in order to use AmeriHome’s optional telephonic payment service violate the
                                                     11   Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §§ 1788, et seq. (the
                                                     12   “Rosenthal Act”). Compl., ¶¶ 77-99.
                                                     13           The Rosenthal Act was enacted “to prohibit debt collectors from engaging in
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                                                     14
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                                                          unfair or deceptive acts or practices in the collection of consumer debts.” It was
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                                                     15   enacted in 1977, the same year that its federal counterpart, the FDCPA, was enacted.
                                                     16   In addition to its other requirements and prohibitions, the Rosenthal Act generally
                                                     17   requires debt collectors to comply with the provisions of the FDCPA. See, Davidson
                                                     18   v. Seterus, Inc. (2018) 21 Cal.App.5th 283, 295. Accordingly, Plaintiff’s claim under
                                                     19   the Rosenthal Act is based on an alleged violation of the FDCPA. Specifically,
                                                     20   Plaintiff’s claim is based on the allegation that AmeriHome violated the FDCPA by
                                                     21   offering Plaintiff the option to pay by telephone and seeking $2.00 if such a payment
                                                     22   was made.
                                                     23           Section 1692f of the FDCPA prohibits a debt collector from using “unfair or
                                                     24   unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692(f).
                                                     25   “The collection of any amount (including any interest, fee, charge or expense
                                                     26   incidental to the principal obligation) unless any such amount is expressly authorized
                                                     27   by the agreement creating the debt or permitted by law” is a violation of § 1692f(1).
                                                     28   “[W]here parties have not expressly agreed on charges to be collected with respect to
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                                                      1   a debt, state law determines whether additional charges are permitted.” Riding v.
                                                      2   CACH LLC, 992 F. Supp. 2d 987, 997-98 (C.D. Cal. 2014) (citing Palmer v.
                                                      3   Stassinos, 348 F. Supp. 2d 1070, 1076 (N.D. Cal. 2004)).
                                                      4           Here, if Plaintiff chose to make a payment by telephone, she would have
                                                      5   effectively entered into a contract with AmeriHome whereby she would be permitted
                                                      6   to pay by telephone, with all of the ease and immediacy that method of payment
                                                      7   offered, in return for $2.00. There is no law that prohibits this $2.00 fee. The $2.00
                                                      8   fee is conditional on a customer’s election to pay by telephone rather than use other
                                                      9   available means that do not require payment of a fee. AmeriHome is not obligated to
                                                     10   offer the convenience of telephonic payment to Plaintiff. Plaintiff is not obligated to
                                                     11   use the telephonic method of making a payment and has other, cost-free options to
                                                     12   make her payments. The “opt-in” nature of the telephonic payment is simply a
                                                     13   consequential cost as a condition to accepting a payment through the telephonic
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                                                     14   method.
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                                                     15           Cases outside of this jurisdiction have analyzed the issue by determining
                                                     16   whether the “fee…[is] incidental to the principal obligation.” 15 U.S.C. § 1692f(1). In
                                                     17   the Ninth Circuit, FDCPA violations may result from unauthorized service charges or
                                                     18   transaction fees imposed by debt collectors. See, e.g., Hunt v. Check Recovery Sys.,
                                                     19   Inc., 478 F. Supp. 2d 1157, 1169 (N.D. Cal. 2007) ($25.00 check service charge);
                                                     20   Newman v. Checkrite California, Inc., 912 F. Supp. 1354 (E.D. Cal. 1995) (same);
                                                     21   Clark v. Bonded Adjustment, Co., 176 F. Supp. 2d 1062, 1064 (E.D. Wash. 2001)
                                                     22   (inflated process-service fee). Yet in each of these cases, the fee was imposed
                                                     23   uniformly as part of the underlying amount owed. In these cases, plaintiffs did not
                                                     24   elect to take advantage of a service that resulted in the fee they were charged.
                                                     25           The Central District of California has addressed this issue of whether optional
                                                     26   convenience fees are “incidental” to the debt pursuant to the FDCPA. Flores v.
                                                     27   Collection Consultants of Calif., 2015 WL 4254032 (C.D. Cal. Mar. 20, 2015). In
                                                     28   Flores, this District Court concluded that a convenience fee was not incidental to the
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                                                      1   principal obligation, and therefore not violative. Id., at 10, but see Lindblom v.
                                                      2   Santander Consumer USA, Inc., 2016 WL 2841495, *7 (E.D. Cal. May 9, 2016)). In
                                                      3   Flores, the Honorable David Carter explained how the decision supported the
                                                      4   legislative intent of the statute:
                                                      5

                                                      6           This conclusion is in line with the intentions of the statute. Section 1692f
                                                      7
                                                                  seeks to prevent unfair or unconscionable methods of collecting debt.
                                                                  Plaintiff has made no argument that this practice was inherently unfair or
                                                      8           unconscionable. Indeed he conceded that “Defendant could have easily
                                                      9
                                                                  avoided the current lawsuit by refusing to accept credit cards as a
                                                                  payment method which would have permitted Defendant to comply with
                                                     10           both Federal and California law.” Opp’n at 16. Discouraging debt
                                                     11           collectors from offering the additional method of payment does not
                                                                  further the purposes of the FDCPA, and it would seem unfair or
                                                     12           inconvenient to many debtors to be deprived of the opportunity to pay by
                                                     13           credit card as a result of a ban on an opt-in fee to cover costs.
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                                                          Flores, 2015 WL 4254032 at 10. Such is the case here. AmeriHome simply offered
                                                     15
                                                          Plaintiff the option to pay by telephone for a fee. Plaintiff opted to take advantage of
                                                     16
                                                          the optional convenience and thereby incur the charge for doing so. There is nothing
                                                     17
                                                          unlawful about this. There is no allegation that AmeriHome required Plaintiff to pay
                                                     18
                                                          her mortgage payment by telephone or that she was otherwise unable to use any of the
                                                     19
                                                          other payment options that did not include a fee.
                                                     20
                                                                  AmeriHome acknowledges that some district courts in other jurisdictions have
                                                     21
                                                          found that convenience fees violate the FDCPA. See e.g. McWhorter v. Ocwen Loan
                                                     22
                                                          Servicing, LLC, Case No. 2:15-cv-01831-MHH, 2017 WL 3315375, *7 (N.D. Al.
                                                     23
                                                          Aug. 8, 2017).
                                                     24
                                                                  However, AmeriHome respectfully submits that the cases like Flores finding
                                                     25
                                                          that convenience fees are not inherently unlawful or unfair and not incidental to the
                                                     26
                                                          debt are better reasoned. See Flores, 2015 WL 4254032, *10; Meintzinger v. Sortis
                                                     27
                                                          Holdings, Inc., Case No. 18-cv-2042 (BMC), 2019 WL 1471338, *3 (E.D.N.Y. Apr.
                                                     28

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                                                      1   3, 2019) (“Even if viewed as an ‘additional charge’ – as to which, for the reasons set
                                                      2   forth above, I cannot see it – there is no provision of state law prohibiting either a
                                                      3   seller or a collection company from adding a charge for the use of an online payment
                                                      4   service, as long as the debtor knows of the charge and has the default option to avoid
                                                      5   it by paying his bill in the usual way – by mailing in a check”).
                                                      6           Plaintiff seeks to impose liability on AmeriHome because it provided an
                                                      7   optional convenience service to make her mortgage payment. AmeriHome was not
                                                      8   required to offer the telephonic payment service to Plaintiff nor was she required to
                                                      9   use it. It is simply not unfair or unconscionable for a mortgage servicer to offer an
                                                     10   optional convenience service for a fee. Plaintiff’s claim under the Rosenthal Act must
                                                     11   fail as a result.
                                                     12           C.    Plaintiff’s Unfair Competition Law claim fails.
                                                     13           Plaintiff’s Business and Professions Code §17200 (“UCL”) claim is derivative
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                                                          of her claim that AmeriHome has violated the Rosenthal Act and the FDCPA.
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                                                     15   Compl., ¶ 91. However, because Plaintiff has failed to either state a cause of action
                                                     16   under the Rosenthal Act or even allege a cause of action under the FDCPA as
                                                     17   explained herein, the UCL claim also fails. Durell v. Sharp Healthcare, 183
                                                     18   Cal.App.4th 1350, 1366 (2010) (no UCL claim because the pleading “does not allege
                                                     19   the conduct is tethered to any underlying constitutional, statutory, or regulatory
                                                     20   provision…”); see also Krantz v. BT Visual Images, L.L.C., 89 Cal.App.4th 164, 178
                                                     21   (2001) (the viability of a UCL claim “stand[s] or fall[s] with the antecedent
                                                     22   substantive causes of action.”); Pantoja v. Countrywide Home Loans, Inc., 640 F.
                                                     23   Supp. 2d 1177, 1190-91 (N.D. Cal. 2009) (“[S]ince the Court has dismissed all of the
                                                     24   Plaintiffs’ predicate violations, Plaintiff cannot state a claim under the unlawful
                                                     25   business practice prong of the UCL.”).
                                                     26

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                                                      1           D.    Plaintiff fails to state a cause of action for a violation under the
                                                      2
                                                                        FCCPA.

                                                      3           The Florida Consumer Collection Practices Act, Fla. Stat. § 555.72(9)
                                                      4   (“FCCPA”) makes it unlawful to “claim, attempt, or threaten to enforce a debt when
                                                      5   such person knows that the debt is not legitimate or assert the existence of some other
                                                      6   legal right when such person knows that the right does not exist.” Fla. Stat. §
                                                      7   559.72(9). Plaintiff’s third cause of action claims that AmeriHome violated section
                                                      8   559.72(9) by charging and collecting the convenience fees at issue. But Plaintiff
                                                      9   cannot maintain an FCCPA action against AmeriHome because AmeriHome is not a
                                                     10   debt collector with regard to the convenience fees and the convenience fees
                                                     11   themselves do not constitute a debt under the FCCPA.
                                                     12           As an initial matter, the FCCPA does not expressly prohibit a debt collector
                                                     13   from charging fees for optional convenience services. See Fla. Stat. § 559.72(9). The
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                                                     14   convenience fees at issue, therefore, do not violate the FCCPA unless AmeriHome is a
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                                                     15   debt collector improperly seeking to enforce a debt due another when that right does
                                                     16   not exist. See, Bardak v. Ocwen Loan Servicing, LLC, 8:19-CV-1111-24TGW, 2020
                                                     17   WL 5104523, at *4 (M.D. Fla. Aug. 12, 2020) (“The convenience fees at issue are not
                                                     18   a debt owed by another. Even if they were a debt, Ocwen is not a debt collector—the
                                                     19   debt was not in default, it originated with Ocwen, and it was not ‘due another.’ Thus,
                                                     20   Plaintiff's claims are not actionable under either the FDCPA or the FCCPA and the
                                                     21   Motion to Dismiss is due to be granted.”)
                                                     22           The FCCPA defines a “debt collector” as “any person who uses any
                                                     23   instrumentality of commerce within this state, whether initiated from, within or
                                                     24   outside this state, in any business the principal purpose of which is collector of debts,
                                                     25   or who regularly collects or attempts to collect, directly or indirectly, debts owed or
                                                     26   due or asserted to be owed or due another.” Fla. Stat. § 559.55(7) (emphasis
                                                     27   added). And the FCCPA defines “debt” as “any obligation or alleged obligation of a
                                                     28   consumer to pay money arising out of a transaction in which the money, property,
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                                                      1   insurance, or services which are subject of the transaction are primarily for personal,
                                                      2   family or household purposes, whether or not such obligation has been reduced to
                                                      3   judgment.” Fla. Stat. §559.55(6).
                                                      4           The issue of convenience fees being collected in order to make a payment
                                                      5   online or by telephone has been “heavily litigated in federal courts in both the Middle
                                                      6   and Southern Districts of Florida.” Kelly v. Ocwen Loan Servicing, LLC, 3:20-CV-50-
                                                      7   J-32JRK, 2020 WL 4428470, at *2 (M.D. Fla. July 31, 2020). Courts in both districts
                                                      8   have reached the conclusion that similar convenience fees for telephonic or online
                                                      9   mortgage payments are not unlawful under either the FDCPA or FCCPA because the
                                                     10   convenience fees are not a debt being collected by a debt collector.1 Lang v. Ocwen
                                                     11   Loan Servicing, 3:20-CV-81-J-20MCR, 2020 WL 5104522, at *3 (M.D. Fla. July 17,
                                                     12   2020) (“Speedpay is a convenience fee and is not a debt owned by another. Even if the
                                                     13   Speedpay fee was a debt, Ocwen is not a debt collector—the debt was not in default, it
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                                                     14   originated with Ocwen, and it was not ‘due another.’ In total, Plaintiff's claims are not
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                                                     15   actionable under either the FDCPA or FCCPA.”); Turner v. PHH Mortgage Corp.,
                                                     16   8:20-CV-137-T-30SPF, 2020 WL 2517927, at *3 (M.D. Fla. Feb. 24, 2020) (“So
                                                     17   because the Court concludes PHH was collecting a fee for a separate, optional service,
                                                     18   that the fee for such service originated with PHH, and that Turner was not in default
                                                     19   when PHH collected the fee for the service, PHH is not a ‘debt collector’ under the
                                                     20
                                                          1
                                                     21
                                                            While Judge Middlebrooks in the Southern District of Florida came to the opposite
                                                          conclusion regarding FDCPA claims in a group of nearly identical cases, he still
                                                     22   dismissed an FCCPA claim by finding that a convenience fee is not a debt under the
                                                     23
                                                          FCCPA’s definition. Booze v. Ocwen Loan Servicing, LLC, No. 9:20-CV-80135-
                                                          DMM (S.D. Fla. Mar. 2, 2020) (denying dismissal of FDCPA claim); Fox v. Ocwen
                                                     24   Loan Servicing, LLC, No. 9:20-CV-80060-RLR (S.D. Fla. Mar. 2, 2020) (denying
                                                     25
                                                          dismissal of FDCPA claim); Fusco v. Ocwen Loan Servicing, LLC, No. 9:20-CV-
                                                          80090, 2020 WL 2519978, 2020 U.S. Dist. LEXIS 38606 (S.D. Fla. Mar. 2, 2020)
                                                     26   (denying dismissal of FDCPA claim but granting dismissal of FCCPA claim by
                                                     27   finding that a convenience fee is not a debt under the FCCPA) (emphasis added);
                                                          Glover v. Ocwen Loan Servicing, LLC, No. 9:20-CV-80053-DMM, 2020 U.S. Dist.
                                                     28   LEXIS 38701 (S.D. Fla. Mar. 2, 2020) (denying dismissal of FDCPA claim).
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                                                      1   FDCPA or FCCPA. The Court, therefore, must dismiss this action with prejudice.”);
                                                      2   Estate of Campbell v. Ocwen Loan Servicing, LLC, 20-CV-80057, 2020 WL 5104538,
                                                      3   at *2 (S.D. Fla. Apr. 30, 2020) (“The Court is most persuaded by Judge Moody's well-
                                                      4   reasoned, commonsense approach and analysis in Turner v. Ocwen Loan Servicing,
                                                      5   LLC, No. 8:20-cv-137-T-30SPF, 2020 WL 2517927 (M.D. Fla. Feb. 24, 2020).”).
                                                      6           AmeriHome is not a debt collector and the convenience fees are not a debt that
                                                      7   AmeriHome is seeking to enforce. In the Estate of Campbell v. Ocwen Loan
                                                      8   Servicing, LLC, the court asked and answered the same dispositive question as this
                                                      9   Court must answer: “Is the ‘convenience fee’ part of the debt Defendant sought to
                                                     10   collect? The answer is no.” Campbell, 2020 WL 5104538, at *2 (emphasis added).
                                                     11   While AmeriHome may be considered a debt collector under the FCCPA with regard
                                                     12   to the underlying debt owed by Plaintiff, the convenience fees – fees only collected by
                                                     13   and paid AmeriHome at the time of a telephonic payment – are not part of or included
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                                                     14   in the underlying debt.
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                                                     15           Further, the convenience fees are not an amount “due or owed to another.”
                                                     16   Turner, 2020 WL 2517927, at *2; see also Buckman v. Am. Bankers Ins. Co. of Fla.,
                                                     17   115 F.3d 892, 895 (11th Cir. 1997) (concluding bail bondsman was not a “debt
                                                     18   collector” because debt originated with bondsman); Helman v. Bank of Am., 685 F.
                                                     19   App'x 723, 726 (11th Cir. 2017) (concluding original mortgagee is not subject to
                                                     20   FDCPA because it originated the loan). The convenience fee is not referenced in
                                                     21   Plaintiff’s loan documents and is only collected by and paid to AmeriHome at the time
                                                     22   of a telephonic payment. Compl. ¶¶ 3, 4, 8, 40, 52, 53; Compl., Ex. A. AmeriHome,
                                                     23   therefore, is not a debt collector with regard to the convenience fees.
                                                     24           Second, the convenience fees do not qualify as “debt.” An optional fee for an
                                                     25   optional service, a service not required by the underlying loan documents, is not a
                                                     26   “debt” that Plaintiff is obligated to pay under the FCCPA. Turner, 2020 WL 2517927
                                                     27   at *2 (“Turner used PHH's optional Speedpay service to ensure same-day posting and
                                                     28   processing of her mortgage payments. This optional service had a separate fee that
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                                                      1   originated with PHH—not Turner's mortgagee. And when Turner became obligated to
                                                      2   pay the convenience fee, Turner was not in default in her obligation to pay it. So PHH
                                                      3   was not operating as a debt collector under the FDCPA or FCCPA when it collected
                                                      4   the convenience fee in exchange for its Speedpay service.”). Just like the Plaintiff in
                                                      5   Turner, Plaintiff was not required to make her mortgage payment by telephone and
                                                      6   could simply have avoided paying a fee by making her payment by other means. The
                                                      7   convenience fee was only applied so that Plaintiff could assure a same-day payment
                                                      8   by telephone and avoid incurring late fees.2
                                                      9           Because AmeriHome is neither a debt collector nor a debt collector collecting a
                                                     10   debt owed another, Plaintiff’s complaint should be dismissed.
                                                     11           E.    Plaintiff fails to state a cause of action for a violation under
                                                     12
                                                                        FDUTPA.

                                                     13           FDUTPA prohibits “[u]nfair methods of competition, unconscionable acts or
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                                                     14   practices, and unfair or deceptive acts or practices in the conduct of any trade or
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                                                     15   commerce.” Fla. Stat. § 501.204(1). An unfair practice has been defined as “one that
                                                     16   offends established public policy and one that is immoral, unethical, oppressive,
                                                     17   unscrupulous or substantially injurious to consumers.” Samuels v. King Motor Co. of
                                                     18   Fort Lauderdale, 782 So.2d 489, 499 (Fla. 4th DCA 2001) (quotation omitted).
                                                     19   Deceptive and unfair practices also include violations of “[a]ny law, statute, rule,
                                                     20   regulation, or ordinance which proscribes unfair methods of competition, or unfair,
                                                     21   deceptive, or unconscionable acts or practices.” Fla. Stat. § 501.203(3)(c).
                                                     22           Plaintiff cannot state a claim under FDUTPA because the conduct she
                                                     23   complains of does not constitute “trade or commerce” under the statute. See e.g.,
                                                     24   State Office of Att’y Gen. v. Shapiro v. Fishman, LLP, 59 So. 3d 353, 355-357 (Fla.
                                                     25   4th DCA 2011) (debt collection does not constitute “trade or commerce” under the
                                                     26
                                                          2
                                                           Plaintiff’s complaint explains that her mortgage requires payments on the 1st of each
                                                     27   month and assesses late charges if the payment is not received during a 15-day grace
                                                     28   period (Compl., ¶ 51) and that each time she incurred a $2.00 fee she was making a
                                                          payment at or near the end of the grace period (Compl., ¶ 53).
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                                                      1   FDUTPA); Benjamin v. CitiMortgage, Inc., Case No. 12–62291–CIV, 2013 WL
                                                      2   1891284, *5 (S.D. Fla. May 6, 2013) (loan servicing does not constitute “trade or
                                                      3   commerce” under the FDUTPA). But even if it did, Plaintiff has still failed to allege
                                                      4   any unfair or deceptive conduct on the part of AmeriHome.
                                                      5           There is nothing inherently unfair or unconscionable about the convenience fees
                                                      6   charged by AmeriHome. AmeriHome has no obligation to provide expedited payment
                                                      7   services to its customers. Instead, AmeriHome offers such services, for a fee, as a
                                                      8   convenience to its customers who voluntarily choose to avail themselves of their
                                                      9   benefit. Many borrowers benefit from using AmeriHome’s phone payment services as
                                                     10   they are able to avoid incurring larger late fees for making payments made outside of
                                                     11   the mailing window. Furthermore, Plaintiff does not allege that she was forced to use
                                                     12   the phone payment service to pay her mortgage. Nor does she allege that she did not
                                                     13   have other free payment methods available to her (such as mailing a check, direct
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                                                     14   debit, BillPay, etc.). In fact, she could have made her mortgage payments without
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                                                     15   incurring any fees by using any of these methods. She chose to take advantage of a
                                                     16   service offered to her – for a fee.
                                                     17           Indeed, as the 11th Circuit noted in a similar case involving fees charged by a
                                                     18   bank for a convenience service:
                                                     19
                                                     20           Baptista requested to have the check cashed immediately upon
                                                     21
                                                                  presentment to Chase, and in return, Chase requested a $6.00 fee.
                                                                  Baptista agreed to the fee. If Baptista had chosen to deposit the check in
                                                     22           her own account and wait for processing, no fee would have been levied.
                                                     23
                                                                  The fee was only levied because Chase conferred an additional benefit on
                                                                  Baptista, that is, immediate payment of the check.
                                                     24

                                                     25   Baptista v. JPMorgan Chase Bank, N.A. (11th Cir. 2011) 640 F.3d 1194, 1198
                                                     26           Other courts interpreting statutes similar to FDUTPA have reached the same
                                                     27   conclusion with respect to convenience fees for phone payments. “U.S. Bank’s
                                                     28   practice of charging customers a fee for paying by phone is not unfair or deceptive
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                                                      1   under the [North Carolina] UDTPA. U.S. Bank’s fee for an optional service that
                                                      2   Waddell chose for her convenience is not plausibly deceptive (i.e., capable of or
                                                      3   tending to deceive) or unfair (i.e., immoral, unethical, oppressive, unscrupulous, or
                                                      4   substantially injurious to consumers.” Waddell v. U.S. Bank Nat'l Ass'n, 395 F. Supp.
                                                      5   3d 676, 685 (E.D.N.C. 2019).
                                                      6           The same reasoning applies here. Like the plaintiffs in Baptista and Waddell,
                                                      7   Plaintiff requested to use AmeriHome’s optional phone payment system to pay her
                                                      8   mortgage and have her payment applied immediately, and in return, AmeriHome
                                                      9   requested a $2.00 fee. Compl. ¶¶ 52-53. This arrangement was neither unfair nor
                                                     10   deceptive.
                                                     11           And with regard to Plaintiff’s claim that AmeriHome “never informed” her that
                                                     12   the actual cost of providing the convenience services was “far less than the amount
                                                     13   charged,” she fails to cite to any statute or contractual term requiring AmeriHome to
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                                                     14   disclose its internal costs or profits to her for any given transaction. Further, Plaintiff
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                                                     15   does not allege that she ever inquired of the “true cost” to AmeriHome – let alone that
                                                     16   AmeriHome ever represented to her that it cost AmeriHome $2.00 to provide the
                                                     17   service.
                                                     18           For all these reasons, Plaintiff’s fourth cause of action for violation of FDUTPA
                                                     19   must be dismissed.
                                                     20           F.    Plaintiff fails to state a cause of action for breach of contract.
                                                     21           Finally, Plaintiff has not plausibly alleged a breach of contract claim. Plaintiff
                                                     22   contends that in charging convenience fees, AmeriHome breached Paragraphs 9, 14,
                                                     23   and 16 of the Mortgage. Compl. ¶¶ 120-126. She further claims that in violating the
                                                     24   FCCPA and Rosenthal Act, AmeriHome also violated the Mortgage. Compl. ¶¶ 124-
                                                     25   125.
                                                     26

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                                                      1           In order to state a claim for breach of contract claim under Florida law,3 a
                                                      2   plaintiff must allege the existence of a contract, a breach of the contract, and damages
                                                      3   resulting from the breach. Vega v. T-Mobile USA, Inc., 564 F.3d 1256 (11th Cir.
                                                      4   2009); Bray & Gillespie Management LLC v. Lexington Ins. Co., 527 F. Supp. 2d
                                                      5   1355 (M.D. Fla. 2007). When interpreting a contract under Florida law, clear and
                                                      6   unambiguous terms must be given their plain and ordinary meaning. Pol v. Pol, 705
                                                      7   So.2d 51, 53 (Fla. 3d DCA 1997). “‘[T]he actual language used in the contract is the
                                                      8   best evidence of the intent of the parties, and the plain meaning of that language
                                                      9   controls.’” Emergency Assocs. of Tampa, P.A. v. Sassano, 664 So.2d 1000, 1003 (Fla.
                                                     10   2d DCA 1995) (citation omitted). The court looks to the “four corners of the
                                                     11   instrument to determine the intent of the parties.” Leverso v. SouthTrust Bank of AL.,
                                                     12   Nat. Assoc., 18 F.3d 1527, 1534 (11th Cir. 1994). Indeed, “[i]t is well settled that a
                                                     13   court cannot rewrite the terms of a contract in an attempt to make otherwise valid
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                                                     14   contract terms more reasonable for a party or to fix an apparent improvident bargain.”
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                                                     15   Id. Further, under Florida law, where a contract is silent as to a particular matter, “that
                                                     16   is, its language neither expressly nor by reasonable implication indicates that the
                                                     17   parties intended to contract with respect to the matter, the court should not, under the
                                                     18   guise of construction, impose contractual rights and duties on the parties which they
                                                     19   themselves omitted.” Gulf Cities Gas Corporation v. Tangelo Park Service Company,
                                                     20   253 So.2d 744, 748 (Fla. 4th DCA 1971); accord Silver v. Countrywide Home Loans,
                                                     21   Inc., 760 F. Supp. 2d 1330, 1345 (S.D. FL. Jan. 13, 2011) (“Countrywide had no
                                                     22   contractual obligation to restructure or modify Silver's loan. Nor does Silver allege
                                                     23   such an express contractual provision. Thus, there was no breach of contract based on
                                                     24   these events.”).
                                                     25

                                                     26

                                                     27   3
                                                            Plaintiff’s Florida Mortgage is governed by Florida law. Compl., Ex. A at ¶ 16
                                                     28   (“This Security Instrument shall be governed by federal law and the law of
                                                          jurisdiction in which the Property is located.”)
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                                                      1           Alternatively, Plaintiff must allege that there has been an express violation of an
                                                      2   applicable law in order to state a cause of action for breach of contract. See, Torliatt v.
                                                      3   Ocwen Loan Servicing, LLC, 19-CV-04303-WHO, 2020 WL 1904596, at *5 (N.D.
                                                      4   Cal. Apr. 17, 2020) (“Torliatt has not adequately alleged that PHH has violated a
                                                      5   provision expressly prohibited by “Applicable Law” such that it is in breach of the
                                                      6   Deed of Trust. He takes the position that, if he can adequately allege that PHH
                                                      7   violated any law, he may allege a breach of contract. But the Deed of Trust describes
                                                      8   only fees that are “expressly prohibited.” As discussed above, it is not entirely settled
                                                      9   whether convenience fees violate the FDCPA or the Rosenthal Act. At a minimum,
                                                     10   Torliatt has not shown that the convenience fees are “expressly prohibited” by these
                                                     11   statutes. Accordingly, his breach of contract claim is dismissed.”).
                                                     12           Here, Plaintiff’s Mortgage does not dictate how Plaintiff is to make her
                                                     13   mortgage payments – nor does it specify what (if any) fees can or cannot be charged
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                                                     14   for providing telephonic payment services. The Mortgage simply does not prohibit
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                                                     15   AmeriHome from charging a fee for telephonic payments. But it does specifically say
                                                     16   that the failure to include a specific fee “shall not be construed as a prohibition of the
                                                     17   charging of such fee.” Compl., Ex. A at ¶ 14. Thus, payment methods and fees for
                                                     18   telephonic payments are not part of the contract formed by the Mortgage.
                                                     19           Paragraph 16 is nothing more than the Mortgage’s choice of law provision
                                                     20   (Compl., Ex. A at ¶ 16) and does not prohibit convenience fees. Paragraph 9 concerns
                                                     21   the rights and obligations of the lender to secure and protect its mortgage interest in
                                                     22   Plaintiff’s property in certain situations, such as a default on the mortgage or the
                                                     23   abandonment of the property. Id. at ¶ 9. That provision has nothing to do with a
                                                     24   mortgage servicer charging convenience fees to use an optional payment method.
                                                     25           Finally, Paragraph 14 allows the lender to charge Plaintiff fees in the event of
                                                     26   her default in order to protect its security interest in the property, but does not prohibit
                                                     27   a lender or its servicer’s ability to charge other fees for other reasons. Id. at ¶ 14. So,
                                                     28   any convenience fee that AmeriHome assessed for payments made by telephone is not
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                                                      1   prohibited by Paragraph 14. Although Paragraph 14 also indicates that a lender may
                                                      2   not charge “interest or other loan charges” that exceed “permitted limits” (id.),
                                                      3   convenience fees are not “interest or other loan charges.” Instead they are an entirely
                                                      4   separate charge incurred for providing and entirely separate service. See, Meintzinger
                                                      5   2019 WL 1471338 at *2 (“Nothing in the FDCPA requires the collection company to
                                                      6   accept payments by telephone, and thus nothing prohibits it from offering to enter into
                                                      7   a new contract with the debtor, i.e., ‘for $ 6, I will give you the added convenience of
                                                      8   paying by phone.’”).
                                                      9           In short, Plaintiff must identify the specific provision of the Mortgage which
                                                     10   governs payments and collection of fees, and then articulate how that provision was
                                                     11   violated when AmeriHome offered a voluntary payment option for a fee which
                                                     12   Plaintiff elected to utilize. See, Waddell, 395 F. Supp. 3d at 685–86 (“The parties did
                                                     13   not, and Waddell has not plausibly alleged that her deed of trust contains any express
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                                                     14   or implied terms that prohibit U.S. Bank from charging a service fee authorized by
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                                                     15   federal law for an optional payment method (such as pay-by-phone).”). Plaintiff does
                                                     16   not and cannot make such a claim, as the Mortgage attached to her Complaint makes
                                                     17   clear. Indeed, if the Mortgage required AmeriHome to provide such a service free of
                                                     18   charge, Plaintiff may have water to swim in. But in this case, where the Mortgage
                                                     19   provides no contract terms related to forms of payments to be offered by AmeriHome,
                                                     20   the riverbed is dry.
                                                     21           As for any express violation of an applicable law, the issue here is the same as
                                                     22   that addressed by the Northern District earlier this year in Torliat. The law is not
                                                     23   settled that convenience fees like those charged to Plaintiff constitute a violation of
                                                     24   either the FDCPA or the Rosenthal Act. In fact, Plaintiff has not even alleged an
                                                     25   FDCPA claim against AmeriHome and, for reasons stated herein, has not stated a
                                                     26   cause of action for violations of the Rosenthal Act. Plaintiff, therefore, cannot
                                                     27   maintain an action for breach of contract based on any express violation of law.
                                                     28

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                                                      1   IV.     CONCLUSION
                                                      2           For all these reasons, AmeriHome respectfully requests that the Court grant its
                                                      3   motion to dismiss Plaintiff’s complaint in its entirety.
                                                      4   Dated: September 21, 2020                Respectfully submitted,
                                                      5
                                                                                                   LOCKE LORD LLP
                                                      6

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                                                                                                   By: /s/ Regina J. McClendon
                                                      8
                                                                                                         Regina J. McClendon
                                                      9                                                  Thomas J. Cunningham
                                                                                                   Attorneys for Defendant AmeriHome Mortgage
                                                     10
                                                                                                   Company, LLC
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